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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

ASSOCIATION OF NEW JERSEY RIFLE            )
& PISTOL CLUBS, INC., et al.               )
                                           )
                   Plaintiffs,             )
                                           )
      v.                                   ) Civil Action No. 3:18-cv-10507-PGS-JBD
                                           )
MATTHEW PLATKIN, et al.                    )
                                           )
                  Defendants.              )
_________________________________          )
                                           )
MARK CHEESEMAN, et al.                     )
                                           )
                   Plaintiffs,             )
                                           )
      v.                                   ) Civil Action No. 3:22-cv-4360-PGS-JBD
                                           )
                                           )
MATTHEW PLATKIN, et al.
                                           )
                                           )
                   Defendants.
                                           )
_________________________________          )
                                           )
BLAKE ELLMAN, et al.                       )
                                           )
                   Plaintiffs,             )
                                           ) Civil Action No. 1:22-cv-4397-PGS-JBD
      v.
                                           )
                                           )
MATTHEW PLATKIN, et al.                    )
                                           )
                   Defendants.             )



                                 NOTICE OF APPEAL


      Notice is hereby given that Plaintiffs Association of New Jersey Rifle & Pistol

Clubs, Inc., Blake Ellman, Marc Weinberg, and Thomas R. Rogers (“ANJRPC and
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Ellman Plaintiffs”) hereby appeal to the United States Court of Appeals for the Third

Circuit from the Order granting in part and denying in part the ANJRPC and Ellman

Plaintiffs’ motions for summary judgment and denying their motions to exclude

expert testimony entered in these consolidated actions on July 30, 2024 as follows:

           ANJRPC v. Platkin, 3:18-cv-10507: ECF No. 229

           Ellman v. Platkin, 3:22-cv-4397: ECF No. 63

      ANJRPC and Ellman Plaintiffs also appeal all prior and interlocutory orders

of the court.

      The matters have been consolidated pursuant to Fed. R. Civ. P. 42. See

ANJRPC, 18-cv-10507, Mem. & Order, ECF No. 148 (Feb. 6, 2023) and Order, ECF

No. 168 (Sept. 12, 2023).



                                    s/ Daniel L. Schmutter
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August 14, 2024
